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Via ECF
January 22, 2019

The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
New York, New York 10007

Re: United States v. Fredy Renan Najera Montoya
15-cr-378 (PGG-1)

Dear Judge Gardephe:

The Defendant Fredy Renan Najera Montoya writes on behalf of the parties to request an
adjournment of the sentencing date currently scheduled for April 19, 2019 requiring sentencing
submissions by the defendant by April 5, 2019. Transcript of December 10, 2018 hearing (T-77:17-
20 ). Specifically, the parties request that sentencing be rescheduled to June 21, 2019. On or
before June 7, 2019, Defendant will submit his sentencing submissions and, the government will
reply on or before June 14, 2019.

The reasons for this request are to afford defense counsel a reasonable opportunity to meet and
confer with Mr. Najera. This will also afford the parties additional time to refine their respective
positions in preparation for sentencing.

Please respectfully advise if this proposed schedule is acceptable to the Court.

Respectfully submitted,

/s/ Joaquin Perez /
JOAQUIN PEREZ, ESQ.
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ce: Matthew J. Larouche, AUSA
Emil J. Bove, III], AUSA
(Via ECF)
